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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION

JOHN MARSHALL,                            )
an individual,                            )
                                          )
              Plaintiff,                  )
                                          )                 Case No.:
vs.                                       )
                                          )
PEARL PLAZA REALTY TRUST,                 )
a Massachusetts Realty Trust,             )
                                          )
              Defendant.                  )
__________________________________________/

                                        COMPLAINT

      Plaintiff, JOHN MARSHALL, through his undersigned counsel, hereby files this Complaint

and sues PEARL PLAZA REALTY TRUST, a Massachusetts REALTY TRUST, for declaratory and

injunctive relief, and attorney’s fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”), and alleges:

                              JURISDICTION AND PARTIES

1.    This is an action for damages, declaratory and injunctive relief pursuant to Title III of the

      Americans With Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

      “ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and

      1343, and pendant and supplemental jurisdiction over state law claims that are alleged herein

      pursuant to 42 U.S.C. § 1367, et seq.

2.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.    Plaintiff, JOHN MARSHALL, (hereinafter referred to as “MR. MARSHALL”), is a resident

      of the State of Massachusetts.

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4.    MR. MARSHALL suffers from severe diabetes and has had to undergo multiple surgeries

      on his leg, including a partial amputation, which causes him to be confined to a wheelchair.

5.    Due to the disability, Plaintiff is substantially impaired in several major life activities and

      requires a wheelchair for mobility.

6.    Upon information and belief, Defendant, PEARL PLAZA REALTY TRUST, a

      Massachusetts Realty Trust, (hereinafter referred to as “PEARL PLAZA” or Defendant), is

      the owner, lessee and/or operator of the real property and improvements which is the subject

      of this action, to wit: Pearl Plaza, generally located at 96-125 Pearl Street, Braintree,

      Massachusetts 02184.

7.    All events giving rise to this lawsuit occurred in the District of Massachusetts.

                     COUNT I - VIOLATION OF TITLE III OF THE
                       AMERICANS WITH DISABILITIES ACT

8.    Plaintiff realleges and reavers Paragraphs 1 - 7 as if they were expressly restated herein.

9.    The Property, a shopping mall, is a place of public accommodation, subject to the ADA.

10.   MR. MARSHALL has visited the Property numerous times.

11.   During these visits, MR. MARSHALL experienced serious difficulty accessing the goods

      and utilizing the services therein due to the architectural barriers discussed herein in

      Paragraph 14 of this Complaint.

12.   MR. MARSHALL continues to desire to visit the Property, but continues to experience

      serious difficulty due to the barriers discussed in Paragraph 14 which still exist.

13.   MR. MARSHALL intends to and will visit the Property to utilize the goods and services in

      the future, but fears that he will face the same barriers to access as discussed herein.

14.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and is

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      discriminating against the Plaintiff due to, but not limited to, its failure to provide and/or

      correct the following barriers to access which were observed and/or encountered by and has

      hindered the Plaintiff’s access:

             A.      Inaccessible parking throughout the property designated as accessible due to

                     excessive slopes;

             B.      inaccessible routes throughout the property due to steep curb cuts, steep side

                     flares and a lack of level landings;

             C.      inaccessible routes from parking designated as accessible to sidewalks due

                     to excessive cross slopes; and

             D.      inaccessible service/payment counters due to excessive height.

15.   Furthermore, the Defendant continues to discriminate against the Plaintiff, and by failing to

      make reasonable modifications in policies, practices or procedures, when such modifications

      are necessary to afford all offered goods, services, facilities, privileges, advantages or

      accommodations to individuals with disabilities; and by failing to take such efforts that may

      be necessary to ensure that no individual with a disability is excluded, denied services,

      segregated or otherwise treated differently than other individuals because of the absence of

      auxiliary aids and services.

16.   To date, the readily achievable barriers and other violations of the ADA still exist and have

      not been remedied or altered in such a way as to effectuate compliance with the provisions

      of the ADA.

17.   Removal of the barriers to access located on the Property is readily achievable, reasonably

      feasible and easily accomplishable without placing an undue burden on the Defendant.


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18.    Removal of the barriers to access located on the Property would allow Plaintiff to fully

       utilize the goods and services located therein.

19.    Independent of his intent to return as a patron of the Property, Plaintiff additionally intends

       to return to the Property as an ADA tester to determine whether the barriers to access stated

       herein have been remedied.

20.    The Plaintiff has been obligated to retain counsel for the filing and prosecution of this action.

       Plaintiff is entitled to have his reasonable attorney’s fees, costs, and expenses paid by

       Defendant pursuant to 42 U.S.C. § 12205.

       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following relief:

               A.      That the Court declares that the Property owned, leased and/or

                       operated by Defendant is in violation of the ADA;

               B.      That the Court enter an Order directing Defendant to alter the facility

                       to make it accessible to and useable by individuals with disabilities

                       to the full extent required by Title III of the ADA;

               C.      That the Court enter an Order directing Defendant to evaluate and

                       neutralize its policies and procedures towards persons with

                       disabilities for such reasonable time so as to allow to undertake and

                       complete corrective procedures.

               D.      That the Court award reasonable attorney’s fees, costs (including

                       expert fees), and other expenses of suit, to the Plaintiff; and

               E.      That the Court award such other and further relief as it deems


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                    necessary, just and proper.

Dated: September 21, 2011




                                          Respectfully submitted,

                                          Ku & Mussman, P.A.
                                          Attorneys for Plaintiff
                                          12550 Biscayne Blvd., Suite 406
                                          Miami, FL 33181
                                          Tel: (305) 891-1322
                                          Fax: (305) 891-4512

                                   By:    /s/ Ashley D. Forest
                                          Attorney for Plaintiff
                                          Ashley D. Forest, Esq.
                                          Of Counsel
                                          Law Office of Ashley D. Forest
                                          10 Post Office Square, 8th Floor
                                          Boston, MA. 02109
                                          Tel: (617) 504 - 2364
                                          Fax: (617) 692 - 2901
                                          Email: forest@ashleyforestlaw.com
                                          BBO# 668187




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